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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
v.                                                §           CRIMINAL ACTION H-14-171S-12
                                                  §
                                                  §
DEBORAH DAVIS                                     §

                                               Order

       Pending before the court are the following three motions filed by defendant Deborah Davis:

(1) a motion for a bill of particulars (Dkt. 274); (2) a motion to dismiss the superseding indictment

(Dkt. 275); and (3) a motion for discovery of particular Brady materials (Dkt. 276). Having

considered the motions, responses, and applicable law, the court is of the opinion that the motion for

a bill of particulars should be GRANTED IN PART and the other two motions should be DENIED..

                                I. THE SUPERSEDING INDICTMENT

       The superseding indictment first details how the Medicare program works and notes that

Medicare Part B covers partial hospitalization programs (“PHPs”) connected with the treatment of

mental illness. Dkt. 136 ¶¶ 1-15. It then alleges that Continuum Healthcare, LLC owned three

different community mental health centers in the Greater Houston Area that billed for PHP services

that were not medically necessary and, in some cases, not provided. Id. ¶¶ 16–19. Similarly, it

alleges that Westbury Community Hospital billed for PHP services that were not medically necessary

and, in some cases, not provided. Id. ¶ 20. Defendants David Edson and Jeffery Parsons allegedly

formed My Fellow Man Alliance (“MFMA”) as a tax-exempt corporation to take over the

Continuum “bed lease program.” Id. ¶ 21. According to the superseding indictment, Davis was a

personal care home owner and a patient advocate for Continuum.
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       The superseding indictment alleges that Davis and others conspired to (1) defraud the United

States by, among other things, obstructing the Government in its administration of the Medicare

program; (2) violate Title 42, U.S.C. § 1320a-7b(b)(1) by soliciting and receiving kickbacks and

bribes; (2) violated Title 42, U.S.C. § 1320a-7b(b)(2) by offering and paying kickbacks and bribes.

Id. ¶ 34. The superseding indictment asserts that Edson and Parsons caused Continuum to issue

checks to patient advocates and personal care homeowners for referrals of Medicare beneficiaries

to Continuum’s or Westbury’s PHP program and caused Continuum or MFMA to issue checks to

personal care home owners for bed leases in exchange for the referral of Medicare beneficiaries by

those personal care home owners. Id. ¶¶ 36–39. It alleges, specifically, that Davis received

approximately $155,000.00 from Continuum or Westbury in exchange for referring her clients to

PHP services at Continuum or Westbury. Id. ¶ 67. It then alleges that Edson and Parsons caused

Continuum and Westbury to bill Medicare approximately $4.3 million for PHP services allegedly

needed by, and provided to, the clients referred by Davis and that Edson and Parsons caused

Medicare to pay approximately $1.6 million to Continuum and Westbury for PHP services allegedly

needed by, and provided to, clients referred by Davis. Id. ¶¶ 68–69.

       Paragraph 74(i) of the indictment contains the overt act alleged by Davis in furtherance of

the alleged conspiracy; it states that on October 16, 2009, Edson and Parsons caused payment of

approximately $2,308.00 to Davis in exchange for the referrals. Id. ¶ 74(i). Count 10 names Davis

in connection with the contention that the defendants aided and abetted each other in paying

kickbacks and bribes in exchange for referrals and includes the $2,308.00 payment to Davis on

October 15, 2009. Id. at 22-23.




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                                      II.BILL OF PARTICULARS

        Davis argues that the charges in the superseding indictment are broad in scope and duration,

and do not allege which reimbursement claims form the basis of the charges. Dkt. 274. Davis

contends that without knowing the specific reimbursement claims, she cannot prepare for trial as her

counsel would be forced to comb through $199 million and several years’ worth of reimbursement

claims in hopes of identifying relevant claims, she would likely be unfairly surprised at trial, and she

may be subject to double jeopardy in the future, as the Government could refrain from using a certain

claim at trial, even if the claim forms the basis for the superseding indictment, and then use the

charge in a later prosecution. Id. Davis additionally argues that the bed lease program described in

paragraphs 37 through 39 of the superseding indictment is within the exemptions to the Anti-

Kickback Statute for space or equipment rental, and the superseding indictment fails to provide

adequate notice how the bed lease violates the statute. Id. (citing 42 C.F.R. § 1001.952(b) and (c)).

Davis also states that the superseding indictment alleges in paragraph 36 that the defendants were

employed as patient advocates and issued checks to them, and argues that, since bona fide employees

or those under personal services contracts may be exempt under the safe harbors of the Anti-

Kickback Statute, the superseding indictment does not provide notice as to how any remuneration

to Davis as an employee or one under a personal services contract violated the law. Id. Davis

contends that she cannot prepare for trial without knowing the specific violations of the Anti-

Kickback Statute and the exemptions thereto. Id. She argues that if the Government contends that

the exemptions to the Anti-Kickback Statute do not apply, then it should be required to allege its

reasons now rather than waiting to ambush Davis at trial. Id.




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        The Government argues that it is not required to provide more specificity with regard to

specific reimbursement claims in the indictment because Davis’s contentions relating to the need for

specific reimbursement claims made under the bed lease program, the patient advocate agreement,

or her employment are all affirmative defenses for which Davis bears the burden of proof, not the

Government. Dkt. 290 (citing United States v. Job, 387 F. App’x 445, 455 (5th Cir. 2010) and

United States v. Sisson, 299 U.S. 267, 288 (1970)). The Government additionally argues that the

superseding indictment provides sufficient specificity with regard to the basis of the kickback charge.

Id. It alleges that Davis received kickbacks in exchange for referring Medicare beneficiaries who

were clients of her personal care home. Id. The Government asserts that this is “clearly a finite

number of beneficiaries for which Davis housed in her personal care home and for which she

received illegal remuneration for referring to Continuum [Missouri City],” an outpatient center for

Westbury Community Hospital. Id. The Government states that it has made available all evidence

seized, including the bed lease contracts and supporting documents. Id. It argues that a “bill of

particulars was not designed to allow a defendant to limit the government’s evidence or to receive

detailed disclosure of the government case before trial and therefore avoid reviewing discovery in

a fraud case.” Id. (citing Kilrain, 566 F.2d at 985).

A. Legal Standard

        Federal Rule of Criminal Procedure 7(f) authorizes a court to direct the government to file

a bill of particulars. Fed. R. Crim. P. 7(f). The purpose of a bill of particulars is to “cure omissions

of details that might enable the defendant to prepare his defense.” United States v. Haas, 583 F.2d

216, 221 (5th Cir. 1978) (quoting Norris v. United States, 152 F.2d 808, 811 (5th Cir. 1946))

(internal quotations omitted). Thus, a bill of particulars may prevent prejudicial surprise at trial. See


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United States v. Moody, 923 F.2d 341, 351 (5th Cir. 1991). However, a bill of particulars is not a

matter of right, and the district court exercises discretion in granting or denying a defendant’s

motion. United States v. Williams, 679 F.2d 504, 510 (5th Cir. 1982). And, the district court will

not be reversed for failing to grant a request for a bill of particulars unless the defendant can show

that he or she “was actually surprised at trial and thereby incurred prejudice to his [or her] substantial

rights.” Id.

        “A bill of particulars is not required if a defendant is otherwise provided, inter alia, with

sufficient information to enable him to prepare his defense and avoid surprise.” Moody, 923 F.2d

at 351. Thus, if the indictment is sufficient, a district court does not abuse its discretion if it denies

a motion for a bill of particulars. United States v. Beebe, 792 F.2d 1363, 1366 (5th Cir. 1986). For

an indictment to be sufficient, it “must fairly inform the defendant of the charge against which he

must defend and enable him to plead double jeopardy in future prosecutions of the same offense.”

Id. “A defendant should not use the Bill of Particulars to ‘obtain a detailed disclosure of the

government's evidence prior to trial.’” United States v. Kilrain, 566 F.2d 979, 985 (5th Cir. 1978)

(quoting United States v. Perez, 489 F.2d 51, 70-71 (5th Cir. 1973)); see also United States v.

Montalvo, 820 F. 2d 686, 691 (5th Cir. 1987); United States v. Nixon, 816 F.2d 1022, 1031 (5th Cir.

1987)). Generally, the fact that the requested information may be useful to the defendant does not,

alone, establish the need for a bill of particulars. United States v. Strawberry, 892 F. Supp. 519, 526

(S.D.N.Y. 1995).

B.      Analysis

        The court agrees that to some extent Davis’s request seems to be for a detailed disclosure of

the Government’s evidence prior to trial. Davis specifically requests (1) the characteristics of the


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bed lease program and facts, including acts and date, that violate 42 C.F.R. 1001.952(b); (2) the

characteristics of the personal services contract and facts, including acts and dates, that violate 42

C.F.R. 1001.952(d); (3) the characteristics of the Davis employment by Continuum, and facts,

including acts, and dates, that violate 42 C.F.R. 1001.952(I), and (4) the names of the Medicare

beneficiaries whose claims were tainted by any alleged illegal kickbacks. Dkt. 274. To the extent

Davis requests information relating to her affirmative defenses, it is not the Government’s burden.

Thus, the first through third requests are DENIED.

       However, the court believes there is some validity to Davis’s request for the names of

Medicare beneficiaries whose claims were allegedly tainted by alleged illegal kickbacks. Courts

have held that a bill of particulars may be appropriate when the indictment fails to specify documents

and transactions that the Government contends are fraudulent, and, with regard to health care fraud,

several courts have found that defendants should be provided information identifying the medical

claims that were fraudulent. United State v. Drivas, No. 10-CR-771 (NG), 2012 WL 3011023, at

*3 (E.D.N.Y. July 19, 2012); see, e.g., United States v. Vasquez-Ruiz, 136 F. Supp. 2d 941, 943

(N.D. Ill. 2001) (holding that the defendant was entitled to know the identity of the alleged patient-

victims, records claimed to have false entries, and any allegedly fraudulent bills to insurers as the

“defense should not be left to its own devices and a sifting of the voluminous materials that have

been provided in order to divine the particulars of these critical allegations”); United States v.

Nachamie, 91 F. Supp. 2d 565, 571 (S.D.N.Y. 2000) (noting that the Government had produced over

200,000 pieces of paper but had not informed the defendants which of the claims were false and

requiring the Government to identify the false and misleading claims it intended to prove at trial);

cf. United States v. Davidoff, 845 F.2d 1151, 1155 (2d Cir. 1988) (noting that while the Government


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may excuse the lack of a bill of particulars by providing materials, “such material may not be

automatically relied on by the Government as an adequate substitute for a straightforward

identification in a bill of particulars of the identity of the victims of offenses that the prosecution

intends to prove”); United States v. Bortnovsky, 820 F.2d 572 (2d Cir. 1987) (finding that the

“Government did not fulfill its obligation merely by providing mountains of documents to defense

counsel who were left unguided as to which documents would be proven falsified or which of some

fifteen burglaries would be demonstrated to be staged”).

       Here, Davis claims that she cannot adequately prepare for trial with the information provided

in the indictment because it would require her to “comb through $199 million and seven years’ worth

of reimbursement claims related to numerous PHPs and services and thousands of patients in hopes

of identifying relevant claims.” Dkt. 274. The Government asserts that the superseding indictment

alleges that Davis received kickbacks in exchange for referring Medicare beneficiaries who were

clients of her personal care home, which is a clearly finite number of beneficiaries.1 Dkt. 290. The

Government further contends that it made available to Davis all of the evidence seized, including

the bed lease contracts and all supporting documents. While it is possible for the Government to

fulfill its obligations by providing materials, if the materials are voluminous, then documents alone

are not a substitute for disclosure of the alleged fraudulent transactions. Davis’s motion for a bill

of particulars is GRANTED to the extent she requests the names of the Medicare beneficiaries whose

claims were tainted by any alleged illegal kickbacks. The Government shall provide a bill of

particulars providing this information to Davis within thirty (30) days of the date of this order.



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        While the Government implies that the fact the kickbacks relate to Davis’s personal care
home limits the number of documents, it is unclear how much it reduces the volume.

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                                     III. MOTION TO DISMISS

       Davis also moves to dismiss the superseding indictment under Federal Rule of Criminal

Procedure 12(b)(3)(B). She argues that the conduct in which the superseding indictment alleges she

engaged all falls within the statutory safe harbor provisions of the anti-kickback statute and is thus

not illegal. Dkt. 275. Specifically, she contends that the compensation alleged as part of the bed

lease agreements falls within the space or equipment rental safe harbors, and the compensation

alleged relating to Davis’s work as a patient advocate falls within the personal service and

management contracts or employee safe harbors. Id. The Government argues that the safe harbor

provisions constitute affirmative defenses that Davis must prove. Dkt. 292. The Government

contends that the Fifth Circuit has never required it to allege, address, or rule out any affirmative

defenses in order to sufficiently allege a criminal offense. Id. The court agrees that Davis’s defenses

are affirmative defenses and that the Government is not under an obligation to anticipate and rule

out every affirmative defense in its indictment. See United States v. Sisson, 399 U.S. 267, 288, 90

S. Ct. 2117 (1970) (“It has never been thought that an indictment, in order to be sufficient, need

anticipate affirmative defenses.”). Accordingly, Davis’s motion to dismiss (Dkt. 275) is DENIED.

               IV. MOTION FOR DISCOVERY OF PARTICULAR BRADY MATERIALS

       Davis’s final motion requests that the Government provide exculpatory materials relating to

her relationship with Continuum and Westbury and relating to the bed lease contracts by responding

to a list of discovery requests paragraph-by-paragraph and stating what is being produced and

whether it has declined to produce materials in its possession or control. Dkt. 276. The Government

contends that it provided all defense counsel with a disc containing the scanned documents from the

Westbury location and that it has repeatedly made available to Davis for inspection the remaining


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evidence as it attempts to scan and provide these documents in a similar fashion.2 Dkt. 291. The

Government acknowledges that the documents are voluminous, but points out that it is in no better

position than Davis to locate any potentially exculpatory evidence. Id.

       There is no indication that the Government has padded its disclosures with superfluous

documents in an effort to hide evidence and it appears the Government has either provided Davis

with all of the evidence it has or is in the process of doing so. The Government is not obligated

under Brady to “furnish [Davis] with exculpatory evidence that is fully available to [Davis] through

the exercise of due diligence.” Kutzner v. Cockrell, 303 F.3d 333, 336 (2002); United States v.

Mulderig, 120 F.3d 534, 541 (5th Cir. 1997) (noting that the Government’s obligations under Brady

do not “require it to point the defense to specific documents with[in] a larger mass of material that

it has already turned over” (quotations and citations omitted)). Accordingly, Davis’s motion for

discovery of particular Brady materials is DENIED.

                                         V. CONCLUSION

       Davis’s motion for a bill of particulars (Dkt. 274) is GRANTED IN PART as described

above. Davis’s motions to dismiss (Dkt. 275) and for discovery of specific materials (Dkt. 276) are

DENIED.

       Signed at Houston, Texas on November 25, 2014.




                                                           Gray H. Miller
                                                     United States District Judge


       2
         Davis pointed out specific boxes from Westbury that the Government had not yet provided,
but the Government asserts that production of the missing boxes is forthcoming. Dkt. 291 at 2 n.2.

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